27

28

cfise 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 1of20 Page ID #:14

THOMAS P. O’BRIEN
United States Attorney
ROBB C. ADKINS
Assistant United States Attorney
Chief, Santa Ana Branch Office
MIEKE I. BIESHEUVEL (Cal. State Bar No.: 228828)
Assistant United States Attorney
Ronald Reagan Federal Building and U.S, Courthouse
411 West Fourth Street
Santa Ana, California 92701
Telephone: (714) 338-3539
Facsimile: (714) 338-3708
E-mail: mieke,biesheuvel@usdoj.gov]

Attorneys for Plaintiff
UNITED STATES OF AMERICA

UNITED STATES DISTRICT COURT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA, } CR No. 08-00087-MMM
)
Plaintiff, ) PLEA AGREEMENT FOR DEFENDANT

} JASON STEPHEN BELL

Vv.
JASON STEPHEN BELL,

Defendant.

et ee eh et ne eet et

1. This constitutes the plea agreement between JASON
STEPHEN BELL (“defendant”) and the United States Attorney’s
Office for the Central District of California (“the USAO”) in the
above-captioned case. This agreement is limited to the USAO and
cannot bind any other federal, state or local prosecuting,
administrative or regulatory authorities.

PLEA

2. Defendant agrees to plead guilty to count two of the

First Superseding Indictment in United States v. Jason Stephen

Bell, CR No. 08-00087-MMM.

27

28

Ise 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 2 of 20 Page ID #:12

NATURE OF THE OFFENSE

3. In order for defendant to be guilty of count two in the
First Superseding Indictment, which charges a violation of Title
18, United States Code, Section 2252A(a} (2) (A) (receipt of child
pornography), the following must be true: (1) defendant knowingly
received or distributed a visual depiction; (2) the visual
depiction had been transported in interstate or foreign commerce
by any means, including by computer; (3) the production of such
visual depiction involved the use of a minor engaging in sexually
explicit conduct; (4) such visual depiction was of a minor
engaged in sexually explicit conduct; (5) defendant knew that
such visual depiction was of sexually explicit conduct; and (6)
defendant knew that at least one of the persons engaged in
sexually explicit conduct in such visual depiction was a minor.

PENALTIES
4, The statutory maximum sentence that the Court can impose
for a violation of Title 18, United States Code, Section
2252A(a) (2) {A}, is: 20 years imprisonment; a lifetime period of
supervised release; a fine of $250,000 or twice the gross gain or
gross loss resulting from the offense, whichever is greatest; and
a mandatory special assessment of $100.

5. The statutory mandatory minimum sentence that the Court
must impose for a violation of Title 18, United States Code,
Section 2252A(a) (2) {A), is 5 years imprisonment, followed by two
years supervised release.

6. Supervised release is a period of time following

imprisonment during which defendant will be subject to various

27

28

se 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 3of20 Page ID #:12

restrictions and requirements. Defendant understands that if
defendant violates one or more of the conditions of any
supervised release imposed, defendant may be returned to prison
for all or part of the term of supervised release, which could
result in defendant serving a total term of imprisonment greater
than the atatutory Maximum stated above.

7. Defendant understands that as a condition of supervised
release, under 18 U.S.C. § 3583({d), defendant will be required to
register as a sex offender. Defendant understands that
independent of supervised release, he will be subject to federal
and state registration requirements, for a possible maximum term
of registration up to and including life. Defendant further
understands that, under 18 U.S.C, § 4042(c), notice will be
provided to certain law enforcement agencies upon his release
from confinement following conviction,

8. Defendant understands and agrees that pursuant to 18
U.S.C. § 2259, defendant will be required to make full
restitution to the victim(s) of the offenses. Defendant agrees
that, in return for the USAO's compliance with its obligations
under this agreement, the amount of restitution is not restricted
to the amounts alleged in the count to which defendant is
pleading guilty and may include losses arising from charges not
prosecuted pursuant to this agreement as well as all relevant
conduct in connection with those charges. Defendant further
agrees that defendant will not seek the discharge of any
restitution obligation, in whole or in part, in any present or
future bankruptcy proceeding.

9. Defendant also understands that, by pleading guilty,

3

Case 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 4of20 Page ID #:12

defendant may be giving up valuable government benefits and
valuable civic rights, such as the right to vote, the right to
possess a firearm, the right to hold office, and the right to
serve on a jury.

10. Defendant further understands that the conviction in
this case may subject defendant to various collateral
consequences, including but not limited to deportation,
revocation of probation, parole, or supervised release in another
case, and suspension or revocation of a professional license.
Defendant understands that unanticipated collateral consequences
will not serve as grounds to withdraw defendant’s guilty plea.

FACTUAL BASIS

11. Defendant and the USAO agree and stipulate to the
statement of facts provided below. This statement of facts is
sufficient to support a plea of guilty to the charge described in
this agreement and to establish the sentencing guideline factors
set forth in paragraph 15 below. It is not meant to be a
complete recitation of all facts relevant to the underlying
criminal conduct or all facts known to either party that relate
to that conduct.

Between on or about June 1, 2006 and on or about November
30, 2006, in Orange County, within the Central District of
California, defendant knowingly received at least approximately
400 images and, additionally, approximately 75 videos that he
knew contained visual depictions of minors engaged in sexually
explicit conduct. The visual depictions defendant knowingly
received include prepubescent minors or minors under twelve years

old, and sadistic or masochistic conduct or other depictions of

4

Cdse 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page5of20 Page ID #:13

27

28

violence. Defendant used a computer to knowingly receive and
possess many of the visual depictions. Defendant knew each
visual depiction he received was of a minor engaged in sexually
explicit conduct. Defendant also knew that production of these
visual depictions involved use of a minor engaging in sexually
explicit conduct. Defendant knew that the visual depictions had
been transported in interstate or foreign commerce.

Specifically, between on or about June 1, 2006 and on or
about November 30, 2006, defendant knowingly received the visual
depiction entitled, “felisha-016.jpg.” Defendant used a computer
to knowingly receive this visual depiction and the visual
depiction had been transported in interstate or foreign commerce.
Production of the visual depiction involved the use of a minor
engaging in sexually explicit conduct. The visual depiction was
of a minor engaged in sexually explicit conduct. Defendant knew
the visual depiction was of sexually explicit conduct. Defendant
knew that at least one of the persons engaged in sexually
explicit conduct in the visual depiction was a minor.

WAIVER OF CONSTITUTIONAL RIGHTS

12. By pleading guilty, defendant gives up the following
rights:

a} The right to persist in a plea of not guilty.

b) The right to a speedy and public trial by jury.

c) The right to the assistance of legal counsel at
trial, including the right to have the Court appoint counsel for
defendant for the purpose of representation at trial. (In this
regard, defendant understands that, despite his plea of guilty,

he retains the right to be represented by counsel -- and, if

5

Case 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 6of20 Page ID #:13

1} necessary, to have the court appoint counsel if defendant cannot
2 |} afford counsel -- at every other stage of the proceeding.)

3 . d) The right to be presumed innocent and to have the

4 | burden of proof placed on the government to prove defendant

5 || quilty beyond a reasonable doubt.

6 e) The right to confront and cross-examine witnesses

7 | against defendant.

8 f) The right, if defendant wished, to testify on

9] defendant’s own behalf and present evidence in opposition to the
10 |} charges, including the right to call witnesses and to subpoena
11 || those witnesses to testify.
12 g) The right not to be compelled to testify, and, if
13 |} defendant chose not to testify or present evidence, to have that
14 || choice not be used against defendant,
15) By pleading guilty, defendant also gives up any and all
16 || rights to pursue any affirmative defenses, Fourth Amendment or
17 | Fifth Amendment claims, and other pretrial motions that have been

18 } filed or could be filed,

19 WAIVER OF DNA TESTING

20 13. Defendant has been advised that the government has in
21 || its possession the following items of physical evidence that

22 || couid be subjected to DNA testing: (1) black, three-ring binder;
23 | (2) pages found inside item number 1; (3) hairs collected from
24 || item number 2; (4) Japanese animation style toy; (5) notary exam
25 | study guide; (6) rear view mirror with parking permit; (7)

26 || printed e-mail correspondence; (8} personal computer (server

27 jj rack), serial number 10004-76694G; (9) external, 160 gigabyte

28 || storage hard drive; (10) loose, 120 gigabyte laptop hard drive;

6

C Ise 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 7 of 20 Page ID #:13

{11) 8 gigabyte thumb drive; (12) external hard drive, serial
number 4L55DXEA; (13) external hard drive, serial number
WXC707642924, and power cord; (14) compact disks; (15) piece of
paper with handwriting; (16) printed sheet of paper titled,
‘Airborne Settlement;” (17) 8 gigabyte USB removable media; (18)
WII game console, serial number LU51817162, with cables and
controller; (19) Microsoft Xbox 360, serial number 103972660906,
with cables and controllers; (20) black RIM Blackberry cellular
telephone, serial number PRD-08416-005; and (21) Nokia cellular
telephone, serial number 354812/01/089538/1.

Defendant understands that the government has previously
submitted item 2 for DNA testing and does not intend to conduct
any further DNA testing of those items or any other items.
Defendant understands that, before entering a guilty plea
pursuant to this agreement, defendant could request DNA testing
of evidence in this case. Defendant further understands that,
with respect to the offense to which defendant is pleading guilty
pursuant to this agreement, defendant would have the right to
request DNA testing of evidence after conviction under the
conditions specified in 18 U.S.C. § 3600. Knowing and
understanding defendant’s right to request DNA testing, defendant
voluntarily gives up that right with respect to both the specific
items listed above and any other items of evidence there may be
in this case that might be amenable to DNA testing. Defendant
understands and acknowledges that by giving up this right,
defendant is giving up any ability to request DNA testing of
evidence in this case in the current proceeding, in any

proceeding after conviction under 18 U.S.C. § 3600, and in any

7

Cc

27

28

nse 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 8of20 Page ID #:13

other proceeding of any type. Defendant further understands and
acknowledges that by giving up this right, defendant will never
have another opportunity to have the evidence in this case,
whether or not listed above, submitted for DNA testing, or to
employ the results of DNA testing to support a claim that
defendant is innocent of the offense to which defendant is
pleading guilty.

SENTENCING FACTORS

14. Defendant understands that the Court is required to
consider the factors set forth in 18 U.S.C. § 3553(a)(1)-(7),
including the kinds of sentence and sentencing range established
under the United States Sentencing Guidelines ("U.S.S.G.” or
“Sentencing Guidelines”), in determining defendant's sentence.
Defendant further understands that the Sentencing Guidelines are
advisory only, and that after considering the Sentencing
Guidelines and the other § 3553(a) factors, the Court may be free
to exercise its discretion to impose any reasonable sentence up
to the maximum set by statute for the crime of conviction.

15. Defendant and the USAC agree and stipulate to the
following applicable Sentencing Guidelines factors:

Base Offense Level : 22 {U.S.8.G. § 2G2.2(a) (2)]

Specific Offense
Characteristics:

Prepubescent minor
or minor under age 12: +2 [U.S.8.G. § 2G62.2(b) (2)]

Sadistic or masochistic
conduct or other

depictions of violence: +4 [U.S.S.G. § 262.2(b) (4)]
Use of computer: +2. [U.S.S.G. § 262.2 (b} (6}]
600 or more images: +5 [U.S.S.G. § 2G62.2(b) (7)]

Cfse 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 9of20 Page ID #:13

Defendant and the USAO reserve the right to argue that additional
specific offense characteristics, adjustments, and departures
under the Sentencing Guidelines are appropriate, including that
defendant may argue that his conduct was limited to receipt
pursuant to U.S.S.G. § 2G2.2(b) (1), and the USAO may argue that
defendant was engaged in a pattern of activity involving sexual
abuse or exploitation of minors pursuant to U.S.S.G. §
2G2.2{(b) (5). Defendant also understands that defendant's base
offense level could be increased if defendant is a career
offender under U.S.S.G. §§ 4B1.1 and 4B1.2. In the event that
defendant’s offense level is so altered, the parties are not
bound by the base offense level stipulated to above.

16, There is no agreement as to defendant’s criminal
history or criminal history category.

17. Defendant and the USAC, pursuant to the factors set
forth in 18 U.S.C. § 3553(a) (1), fa) (2), (a}{3), (a) (6), and
(a) (7), further reserve the right to argue for a sentence outside
the sentencing range established by the Sentencing Guidelines.

18. The stipulations in this agreement do not bind either
the United States Probation Office or the Court. Both defendant
and the USAO are free to: (a) supplement the facts by supplying
relevant information to the United States Probation Office and
the Court, (b) correct any and all factual misstatements relating
to the calculation of the sentence, and (c) argue on appeal and
collateral review that the Court’s Sentencing Guidelines
calculations are not error, although each party agrees to
maintain its view that the calculations in paragraph 15 are

consistent with the facts of this case.

' Case 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 10 of 20 Page ID #:1%

27

28

DEFENDANT! $ OBLIGATIONS

19, Defendant agrees that he will:
. a) Plead guilty as set forth in this agreement.

b) Not knowingly and willfully fail to abide by all
sentencing stipulations contained in this agreement.

c) Not knowingly and willfully fail to: {i) appear for
all court appearances, (ii) surrender as ordered for service of
sentence, (iii) obey all conditions of any bond, and (iv) obey
any other ongoing court order in this matter.

d} Not commit any crime; however, offenses which would
be excluded for sentencing purposes under U.S.S.G. § 4A1.2(c} are
not within the scope of this agreement.

e) Not knowingly and willfully fail to be truthful at
all times with Pretrial Services, the U.S. Probation Office, and
the Court.

£) Pay the applicable special assessment at or before
the time of sentencing unless defendant lacks the ability to pay
and submits a completed financial statement (form OBD-500) to the
USAO prior to sentencing.

THE USAO’S OBLIGATIONS
20, If defendant complies fully with all defendant’s
obligations under this agreement, the USAO agrees:

a) To abide by all sentencing stipulations contained in
this agreement.

b) At the time of sentencing, provided that defendant
demonstrates an acceptance of responsibility for the offense up
to and including the time of sentencing, to recommend a two-level

reduction in the applicable sentencing guideline offense level,

10

5
Cape 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 11 of 20 Page ID #:136

1 |} pursuant to U.S.S.G. § 3E1.1, and to recommend and, if necessary,

2 i} move for an additional one-level reduction if available under

3 | that section.

4 c) Except for criminal tax violations (including

5 | conspiracy to commit such violations chargeable under 18 U.S.c. §
6} 371), not to further prosecute defendant for violations of Title

718, U.S.C. 88 2251(a), 2252A(a) (2), or 2252A(a) (5) {B) arising out
8 | of defendant’s conduct described in the stipulated factual basis
9 |) set forth in paragraph 11 above. Defendant understands that the

10 || USAO is free to prosecute defendant for any other unlawful past
11 |} conduct or any unlawful conduct that occurs after the date of

12 ||this agreement. Defendant agrees that at the time of sentencing

13 | the Court may consider the uncharged conduct in determining the
14 | applicable Sentencing Guidelines range, where the sentence should
15 || fall within that range, the propriety and extent of any departure
16 |) from that range, and the determination of the sentence to be

17 || imposed after consideration of the sentencing guidelines and all

18 1} other relevant factors.

19 BREACH OF AGREEMENT
20 21. If defendant, at any time after the execution of this

21 | agreement, knowingly violates or fails to perform any of

22 || defendant’s agreements or obligations under this agreement (“a

23 || breach”), the USAO may declare this agreement breached. If the
24 || USAO declares this agreement breached at any time following its
25 | execution, and the Court finds such a breach to have occurred,

26 |} then: (a) if defendant has previously entered a guilty plea,

27 || defendant will not be able to withdraw the guilty plea, and (b)

28 || the USAO will be relieved of all of its obligations under this

11

Case 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 12 of 20 Page ID #:1

27

28

agreement.

22. Following the Court’s finding of a knowing and willful
breach of this agreement by defendant, should the USAO elect to
pursue any charge that was either dismissed or not filed as a
result of this agreement, then:

a) Defendant agrees that any applicable statute of
limitations is tolled between the date of defendant's signing of
this agreement and the commencement of any such prosecution or
action.

b) Defendant gives up all defenses based on the statute
of limitations, any claim of pre-indictment delay, or any speedy
trial claim with respect to any such prosecution [or action],
except to the extent that such defenses existed as of the date of
defendant's signing this agreement.

c) Defendant agrees that: (i) any statements made by
defendant, under oath, at the guilty plea hearing (if such a
hearing occurred prior to the breach); (ii) the stipulated
factual basis statement in this agreement; and (iii) any evidence
derived from such statements, are admissible against defendant in
any such prosecution of defendant, and defendant shall assert no
claim under the United States Constitution, any statute, Rule 410
of the Federal Rules of Evidence, Rule 11(f} of the Federal Rules
of Criminal Procedure, or any other federal rule, that the
statements or any evidence derived from any statements should be
suppressed or are inadmissible.

LIMITED MUTUAL WAIVER OF APPEAL
23. Defendant gives up the right to appeal any sentence

imposed by the Court, and the manner in which the sentence is

12

27

28

Cape 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 13 of 20 Page ID #:14

determined, provided that (a) the sentence is within the
statutory maximum specified above and is constitutional, and (b)
the Court imposes a sentence within or below the range.
corresponding to a total offense level of 30, and the applicable
criminal history category as determined by the Court.
Notwithstanding the foregoing, defendant retains any ability
defendant has to appeal the Court’s determination of defendant’s
criminal history category and the conditions of supervised
release imposed by the Court, with the exception of the
following:

a. conditions set forth in General Orders 318, 01-05,
and/or 05-02 of this Court;

b. The defendant shall use only those computers and
computer-related devices, screen user names, passwords, email
accounts, and internet service providers (ISPs), as approved by
the Probation Officer. Computers and computer-related devices
include, but are not limited to, personal computers, personal
data assistants (PDAs), internet appliances, electronic games,
and cellular telephones, as well as their peripheral equipment,
that can access, or can be modified to access, the internet,
electronic bulletin boards, and other computers, or similar
media;

Cc. All computers, computer-related devices, and their
peripheral equipment, used by the defendant, shall be subject to
search and seizure and the installation of search and/or
monitoring software and/or hardware, including unannounced
seizure for the purpose of search. The defendant shall not add,

remove, upgrade, update, reinstall, repair, or otherwise modify

13

27

28

oO

Se 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 14 of 20 Page ID #:1

the hardware or software on the computers, computer-related
devices, or their peripheral equipment, nor shall he/she hide or
encrypt files or data without prior approval of the probation
Officer. Further, the defendant shall provide all billing
records, including telephone, cable, internet, satellite, and the
like, as requested by the Probation Officer;

d. The defendant shall register with the state sex
offender registration agency in any state where the defendant
resides, is employed, carries on a vocation, or is a student, as
directed by the Probation Officer. The defendant shall provide
proof of registration to the Probation Officer within 72 hours of
release from imprisonment/placement on probation;

e. The defendant shall participate in a psychological
counseling and/or psychiatric treatment and/or a sex offender
treatment program, which may include inpatient treatment, as
approved and directed by the Probation Officer. The defendant
shall abide by all rules, requirements, and conditions of such
program, including submission to risk assessment evaluations and
physiological testing, such as polygraph and Abel testing. The
Probation Officer shall disclose the presentence report and/or
any previous mental health evaluations or reports to the
treatment provider;

f. As directed by the Probation Officer, the
defendant shall pay all or part of the costs of treating the
defendant's psychological/psychiatric disorder(s) to the
aftercare contractor during the period of community supervision,
pursuant to 18 U.S.C. § 3672. The defendant shall provide

payment and proof of payment, as directed by the Probation

14

Cae 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 15 of 20 Page ID #:14

27

28

officer;

gq. The defendant shall not possess any materials,
including pictures, photographs, books, writings, drawings,
videos, or video games, depicting and/or describing "sexually
explicit conduct," as defined at 18 U.S.C. § 2256(2). The
condition prohibiting defendant from possessing materials
describing "sexually explicit conduct" does not apply to
materials necessary to and used for legal proceedings in this or
another criminal prosecution against defendant, including a
collateral attack or appeal, or to materials prepared or used for
the purposes of defendant's court-mandated sex offender
treatment ; .

h. The defendant ghall not possess any materials,
including pictures, photographs, books, writings, drawings,
videos, or video games, depicting and/or describing child
pornography, as defined in 18 U.S.C. § 2256(8}). The condition
prohibiting defendant from possessing materials describing child
pornography does not apply to materials necessary to and used for
legal proceedings in this or another criminal prosecution against
defendant, including a collateral attack or appeal, or to
materials prepared or used for the purposes of defendant's
court-mandated sex offender treatment;

I. The defendant shall not own, use or have access to
the services of any commercial mail-receiving agency, nor shall
he/she open or maintain a post office box, without the prior
approval of the Probation Officer;

j- The defendant shall not frequent, or loiter,

within 100 feet of school yards, parks, public swimming pools,

15

Cage 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 16 of 20 Page ID #:14

27

28

playgrounds, youth centers, video arcade facilities, or other
places primarily used by persons under the age of 18;

k. The defendant shall not associate or have verbal,
written, telephonic, or electronic communication with any person
under the age of 18, except: (a) in the presence of the parent
or legal guardian of said minor; and (b) on the condition that
the defendant notify said parent or legal guardian of his/her
conviction in the instant offense/prior offense. This provision
does not encompass persons under the age of 18, such as waiters,
cashiers, ticket vendors, etc., with whom the defendant must deal
with in order to obtain ordinary and usual commercial services

1. The defendant shall not affiliate with, own,
control, volunteer and/or be employed in any capacity by a
business and/or organization that causes him to regularly contact
persons under the age of 18;

m™m, The defendant shall not affiliate with, own,
control, and/or be employed in any capacity by a business whose
principal product is the production and/or selling of materials
depicting and/or describing "sexually explicit conduct," as
defined at 18 U.S.C. § 2256(2);

n. The defendant's employment shall be approved by
the Probation Officer, and any change in employment must be pre-
approved by the Probation Officer. The defendant shall submit
the name and address of the proposed employer to the Probation
Officer at least 10 days prior to any scheduled change;

O. The defendant shall not reside within direct view
of school yards, parks, public swimming pools, playgrounds, youth

centers, video arcade facilities, or other places primarily used

16

Cake 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 17 of 20 Page ID #:14

27

28

by persons under the age of 18. The defendant's residence shall
be approved by the Probation Officer, and any change in residence
must be pre-approved by the Probation Officer. The defendant
shall submit the address of the proposed residence to the
Probation Officer at least 10 days prior to any scheduled move.

24. The USAO gives up its right to appeal the sentence,
provided that (a) the sentence is within the statutory minimum
and maximum specified above and is constitutional, and (b) the
Court imposes a sentence within or above the range corresponding
to a total offense level of 40, and the applicable criminal

history category as determined by the Court.

RESULT OF VACATUR, REVERSAL OR SET-ASIDE

25. Defendant agrees that if any count of conviction is
vacated, reversed, or set aside, the USAO may: (a) ask the Court
to resentence defendant on any remaining count of conviction,
with both the USAO and defendant being released from any
stipulations regarding sentencing contained in this agreement,

(b) ask the Court to void the entire plea agreement and vacate
defendant’s guilty plea on any remaining count of conviction,
with both the USAO and defendant being released from all of their
obligations under this agreement, or (c) leave defendant’s
remaining conviction, sentence, and plea agreement intact.
Defendant agrees that the choice among these three options rests
in the exclusive discretion of the USAO.

COURT NOT A PARTY

26. The Court is not a party to this agreement and need not
accept any of the USAO’s sentencing recommendations or the

parties’ stipulations. Even if the Court ignores any sentencing

17

}2

Ca

27

28

Be 8:08-cr-00087-MMM-TJH Document 51 Filed 12/16/08 Page 18 of 20 Page ID #:14

3

recommendation, finds facts or reaches conclusions different from
any stipulation, and/or imposes any sentence up to the maximum
established by statute, defendant cannot, for that reason,
withdraw defendant’s guilty plea, and defendant will remain bound
to fulfill all defendant’s obligations under this agreement. No
one -- not the prosecutor, defendant’s attorney, or the Court --
can make a binding prediction or promise regarding the sentence
defendant will receive, except that it will be within the

statutory maximum.

NO ADDITIONAL AGREEMENTS

27. kExcept as set forth herein, there are no promises,
understandings or agreements between the USAO and defendant or
defendant's counsel. Nor may any additional agreement,
understanding or condition be entered into unless in a writing

signed by all parties or on the record in court.

//
//
//
//
//
ff
/f
//
//
//
//
//
//

L8

Case
127

mO

82:48  3d95515

meee ieee en sotto eet

PLEA AGREBMENT PART OF TUS GUITTY PLEA HEARING

28. he parties agree and atipulate that this Agreement

will be considered part of the record of defendant's guilty pl

f ant a ayamed deter . ga
hearing as if the entire Agreement had eek Teac inte, the rec

of tha proceeding.

This agoreement ia effachive upor signature by defendant. .

an Assistant United Stables Attorney.

| AGREED AND ACCEPTED

UNTIED STATES ATVORNDY’S OFFTCS
FOR THE CENTRAL DISTRICT OF TART FORM TA

THOMAS &F. O RRAE
United States Attorney

r-00087-MMM- A TJH Document 51 Filed 12/16/08 Page 19 of 20 Page ID #:144

PAGE

Lea

word

ang .

Nik B:e| £7 IZ: 18-08

MEEKB L, BIESHERUVEL : Date
Resistant United Stabes Attorney -

JT have read this agreement and carefully discussed every

pert of Ab with wy attermey. YF underatand tne terme. of this

agreement, and 0 voluntarily agree to those terms. My athorney

has advised me of my cigqhha, of possibile defenses, of the
sentencing factors set Forth in 18 U.a.c. § 3583(a), of the

velevant Sentencing Guidelines provisions, and of the

consedences of entering into this agreament. No promisea or

inducements have been given to me other than those contained
this agreement. No on¢ has threatened or forced me in any wa
anter into this agreement. Finally, I am satisfied with tha
representation of my attorney in this matter.

ODO PEE
SOR abe 1z. Jiao

2A AE SI et

wis N STEPYRM BELL (Date.
pevendant

pled ek,

in

ay ho

a2/ 82

‘Docu 51 T ~ G-of 20--Page ID-#:145.
Case 8:08-cr-00087-MMM-TJH Document 51 Filéd'12/16/08~ Page 2

1 tam Jason Stephen Beil’s attorney. tf have carefully

24 discussed every part of this agreement with my Client, Further;

kal

£ have fully advised my client of his rights, of possible.

4} defenses, of the sentencing factors set forth in 18 U.S. Cc, s-

5H 3553 (a}, of the relevant Sentencing Guidelines provis 3si0ns, and of

6 ff the consequences of entering into this agreement, To my

“i knowledge, my Client’s decision fo enter into this agreement is

8 lan informed and voluntary one, é

MESO

SARA CABTLAN
li | Counsel for p endant
Jason Stephen Rej]

20

